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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida

                                                                     )
                                                                     )
                     KATHLEEN SHORT                                  )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                            Civil Action No. 21cv14057
                                                                     )
                                                                     )
                                                                     )
              UBER TECHNOLOGIES, INC.                                )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Uber Technologies
                                           c/o CT Corporation System, Registered Agent
                                           1200 South Pine Island Rd.
                                           Plantation, FL 33324




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Brandon J. Hill, Attorney for Plaintiff
                                           Wenzel Fenton Cabassa, P.A.
                                           1110 N. Florida Avenue, Ste. 300
                                           Tampa, FL 33602
                                           Direct Dial: (813) 337-7992
                                           bhill@wfclaw.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:       Feb 3, 2021                                                                                         s/ Mary Etienne
                                                                                          Signature of Clerk or Deputy Clerk
